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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

DEXCOM, INC.,

Plaintiff,
v.
C.A. No. 22-605 (KAJ)
ABBOTT DIABETES CARE INC., and
ABBOTT DIABETES CARE SALES CORP. (CONSOLIDATED)

Defendants.

 

ABBOTT DIABETES CARE INC.,

Plaintiff,
v.
C.A. No. 21-1699 (KAJ)
DEXCOM, INC.,

Defendant.

 

JURY VERDICT FORM
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Abbott’s Claims

1. Did Abbott prove by a preponderance of the evidence that the following claims are licensed to
ADC Inc. pursuant to JA.13(c)(i)?

 

| Patent Claim | In Abbott’s favor | In DexCom’s favor |

 

*452 Patent

1 Yes (in Abbott's favor) ____ No (in DexCom’s faver)
if _X_ Yes (in Abbott's favor) No (in DexCom’s favor)
10 ____ Yes (in Abbott’s favor) No (in DexCom’s favor)
11 _____ Yes (in Abbott's favor) J No (in DexCom’s favor)
14 ____ Yes (in Abbott's favor) a. No (in DexCom’s favor)
19 Yes (in Abbott’s favor) ____ No (in DexCom’s favor)
23 _X_ Yes (in Abbott's favor) ____ No (in DexCom’s favor)
26 ____ Yes (in Abbott’s favor) _X_ No (in DexCom’s favor)
27 ___ Yes (in Abbott’s favor) _X_No (in DexCom’s favor)
41 ___ Yes (in Abbott’s favor) _X_ No (in DexCom’s favor)
45 ___ Yes (in Abbott’s favor) - No (in DexCom’s favor)
48 ___ Yes (in Abbott's favor) _X__ No (in DexCom’s favor)
49 ____ Yes (in Abbott's favor) a No (in DexCom’s favor)
62 ____ Yes (in Abbott’s favor) XC_ No (in DexCom’s favor)
63 ____ Yes (in Abbott’s favor) _X_ No (in DexCom’s favor)
67 ____ Yes (in Abbott’s favor) No (in DexCom’s favor)
68 ____ Yes (in Abbott's favor) a No (in DexCom’s favor)

2. Did Abbott prove by a preponderance of the evidence that DexCom breached {[H.3(i) by

obtaining issuance of the following claim?

 

 

| Patent Claim | In Abbott’s favor | In DexCom’s favor

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| X Yes (in Abbott’s favor) No (in DexCom’s favor)
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If you answered NO for all of the claims listed in Questions | and 2, skip to Question 5. Otherwise,
answer Questions 3, 4, 5, and 6.

a

Did Abbott prove by a preponderance of the evidence that its allegedly licensed sensors, and
components used with those sensors, in the FreeStyle Libre 14-day with reader and FreeStyle
Libre 2 with reader, are “ADC Products” as set forth in { A.3 of the SLA?

xX Yes (in Abbott's favor) No (in DexCom’s favor)

Did Abbott prove by a preponderance of the evidence that DexCom breached the license in the
SLA by filing a lawsuit asserting that Abbott infringed one or more of the patent claims listed
in Questions | or 2?

Yes (in Abbott's favor) xX No (in DexCom’s favor)

Did Abbott prove by a preponderance of the evidence that DexCom breached the Dispute
Resolution Clause in SLA { J.1 by failing to follow the dispute resolution procedures in that
clause?

LL. Yes (in Abbott's favor) No (in DexCom’s favor)
/

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DexCom’s Claims

6. Did DexCom prove by a preponderance of the evidence that Abbott breached the Dispute
Resolution Clause in SLA {[ J.1 by failing to follow the dispute resolution procedures in that
clause?

Yes (in DexCom’s favor) X No (in Abbott’s favor)

~-—

 

Jury Foreperson
END
